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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               PANAMA CITY DIVISION


WILLIE F BOSTON,

      Plaintiff,
v.                                                   CASE NO. 5:04-cv-00424-SPM-AK

JO ANNE BARNHART,

     Defendant.
___________________________/

                                       ORDER

      This matter is before the Court on Plaintiff’s Motion to Extend Time to file

memorandum. (Doc. 10). Having considered said motion, the Court is of the opinion

that it should be GRANTED, and that Plaintiff shall have through May 19, 2005, to file

the memorandum.

      DONE AND ORDERED at Gainesville, Florida, this 10th           day of May, 2005.



                                         s/ A. KORNBLUM
                                         ALLAN KORNBLUM
                                         UNITED STATES MAGISTRATE JUDGE
